
PER CURIAM.
Forrest E. Harris ("Harris") appeals the trial court's judgment entered upon a jury verdict convicting him of one count of first-degree assault pursuant to Section 565.050 RSMo (2016),1 armed criminal action, Section 571.015, unlawful use of a weapon, Section 571.030, and unlawful possession of a firearm, Section 571.070. We affirm.
We have reviewed the briefs of the parties and the record on appeal and find no error of law. No jurisprudential purpose would be served by a written opinion. However, the parties have been furnished with a memorandum for their information only, setting forth the facts and reasons for this order.
The judgment is affirmed pursuant to Rule 30.25(b).

All further statutory references are to RSMo (2016).

